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The U.S. Postal Service Issues New Performance Report for the
 Week of September 12th Consistent with Performance Metrics
                 Following a Federal Holiday

    Postmaster General issues directive to deploy the necessary resources to
                 address anticipated increases in mail volume

WASHINGTON, DC — The U.S. Postal Service provided new service performance data today
to the House Committee on Oversight and Reform and the Senate Homeland Security and
Governmental Affairs Committee for the week of Sept. 12 through Sept. 18, 2020. During the
seven-day period, there was a slight dip in service, which is consistent with performance the
week following the Labor Day and Memorial Day holidays.

Key performance indicators for the week of Sept. 12th include:

    x   First-Class Mail: 86.75 percent of first-class mail was delivered on time, a 1.99
        percent decrease from the week of Sept. 5th
    x   Periodicals: 77.04 percent of periodicals were delivered on time, a 3.28 percent
        decrease from the week of Sept. 5th
    x   Marketing Mail: 86.90 percent of marketing mail was delivered on time, a 1 percent
        decrease from week of Sept. 5th

Historically, service performance has decreased between 1.3 and 2.9 percent in the week
following the Labor Day holiday. The reported service decline in First-Class Mail was consistent
with the service impact following the 2020 Memorial Day holiday.

The recent post-Labor Day dip was attributable to volume buildup in the system from the
holiday weekend which was quickly addressed but not before it had some impact on service
performance data. The Postal Service was able to overcome and address disruptions in service
as the result of fires in the west as well as hurricanes and tropical storms in the south.

“Our Postal Service operations team responded quickly and worked over the weekend to
address buildup within the system which has now been cleared,” said Postmaster General
Louis DeJoy. “I have directed our operations team to move quickly and deploy the necessary
resources to address an anticipated increase in mail volume this coming weekend. I am proud
of the work our 640,000 Postal Service employees do every day to deliver for the American
public.”

To process an anticipated high mail and package volume the weekend of Sept. 26-27, the
Postal Service has made operational adjustments including: increased staffing for locations and
operations with expected high volumes, early Saturday start times for all local operations, and
expanded process monitoring to ensure any performance issues are frequently communicated
and elevated as necessary.

Service performance is defined by the Postal Service from acceptance of a mailpiece into our
system through delivery, measured against published service standards.
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